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 7                                       UNITED STATES DISTRICT COURT
                                        WESTERN DISTRICT OF WASHINGTON
 8                                                AT SEATTLE
 9
      CLARK EQUIPMENT COMPANY,
10                                                           No.
                            Plaintiff,
11                                                           COMPLAINT
              v.
12                                                           TRIAL BY JURY DEMANDED
      CHRISTOPHER WALLS,
13    BOBCAT RENTALS CO.
14                          Defendants.
15

16

17            Plaintiff Clark Equipment Company, by its attorneys, Quarles & Brady LLP, hereby

18 states its Complaint against Defendants Christopher Walls and Bobcat Rentals Co. (collectively,
19 “Defendants”), as follows:

20                                               THE PARTIES

21            1.        Plaintiff Clark Equipment Company, doing business as Bobcat Company,

22 (“Plaintiff” or “Bobcat Company”) is a Delaware corporation with its principal place of business

23 located at 250 East Beaton Drive, West Fargo, North Dakota 58078.

24            2.        Upon information and belief, Defendant Christopher Walls (“Mr. Walls”) is

25 Washington state resident residing at 318 138th Street E, Tacoma, Washington 98445.

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27

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 1            3.        Upon information and belief, Defendant Bobcat Rentals Co. (“Bobcat Rentals”) is

 2 a registered Washington for profit corporation located in the State of Washington with a

 3 principal place of business at 12602 Pacific Ave. S., Tacoma, Washington 98444.

 4            4.        According to the Washington Secretary of State’s corporate database, on August

 5 30, 2021, Mr. Walls filed to register Bobcat Rentals with the State of Washington. Mr. Walls is

 6 listed as the sole registered agent and President of Bobcat Rentals.

 7                                       JURISDICTION AND VENUE

 8            5.        This is an action for trademark infringement arising under Section 32(1) of the

 9 Lanham Act, 15 U.S.C. § 1114(1); false designation of origin arising under Section 43(a) of the

10 Lanham Act, 15 U.S.C. § 1125(a); unfair competition arising under Section 43(a) of the Lanham

11 Act, 15 U.S.C. § 1125(a); dilution by blurring and/or tarnishment under Section 43(a) of the

12 Lanham Act, 15 U.S.C. § 1125(c); and trademark infringement under Washington common law.

13            6.        This Court has subject matter jurisdiction over this action pursuant to 28

14 U.S.C. §§ 1121, 1331 and 1338(a)-(b).

15            7.        This Court has supplemental jurisdiction over the state law claims under 28

16 U.S.C. § 1367(a).

17            8.        This Court has personal jurisdiction over Mr. Walls under RCW 4.28.185(1)

18 because Christopher Walls, either independently or acting through Bobcat Rentals, transacts
19 business within the State of Washington and the Western District of Washington.

20            9.        This Court has personal jurisdiction over Bobcat Rentals under RCW 4.28.185(1)

21 because Bobcat Rentals transacts business within the State of Washington and the Western

22 District of Washington.

23            10.       Defendants have caused and are causing injury and damages within Washington

24 and this judicial district by committing infringing acts within Washington and this judicial

25 district through their unauthorized and infringing use of various BOBCAT-related marks.

26            11.       Venue in the Western District of Washington is proper under 28 U.S.C. § 1391.

27

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 1                                      FACTS GIVING RISE TO THIS ACTION

 2                                               Bobcat Company

 3            12.       Bobcat Company is a leading global provider of compact equipment for

 4 construction, landscaping, agriculture, and related goods and services.

 5            13.       In 1958, Bobcat Company introduced the first compact loader into the market

 6 under its BOBCAT trademark. For over 60 years, Bobcat Company has manufactured and sold

 7 BOBCAT-branded loaders, excavators, backhoes, and other machines.

 8            14.       Bobcat Company’s website, available at www.bobcat.com, provides information

 9 about its BOBCAT-branded equipment. Bobcat Company owns and uses the domain name

10 <www.bobcat.com> for a website providing information about the company and its BOBCAT

11 equipment. (Exhibit A).

12            15.       Bobcat Company’s BOBCAT-branded equipment is sold, rented, and serviced

13 throughout the United States through an extensive dealer network, and each dealer is granted

14 authorization to use certain BOBCAT-formative trademarks in connection with its business

15 name and a domain name pursuant to its dealer agreement.

16            16.       Some of Bobcat Company’s authorized dealers operate domain names composed

17 of BOBCAT-formative marks followed by terms descriptive of rental services provided, e.g.,

18 www.bobcatrents.com (redirecting to carletonequipment.com) and
19 www.rentbobcatmemphis.com (redirecting to williamsequipment.com).

20            17.       Peak Machinery is the authorized dealer of and service provider for Bobcat

21 equipment in the Washington and Northern Idaho regions and offers 6 locations in the Pacific

22 Northwest, including Bobcat of Olympia, located at 3121 Pacific Ave SE Olympia, WA 98501.

23 Peak Machinery provides its services within the same geographic region as Bobcat Rentals.

24            18.       Since at least as early as 1958, Bobcat Company has used a variety of BOBCAT-

25 formative trademarks (the “BOBCAT Marks”).

26            19.       Bobcat Company owns a multitude of U.S. trademark registrations for BOBCAT-

27 formative marks, including the following:

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 1    U.S. Reg. No.       Trademark     Goods/Services                                                  Reg. Date
      670566              BOBCAT        (Int’l Class: 7) Backhoes for attachment to trucks,             1958-12-02
 2                                      tractors, trailers and the like, and parts therefor

 3    890034              BOBCAT        (Int’l Class: 12) Self-propelled vehicle having front           1970-04-28
                                        end mounting means for various attachments
 4                                      actuated by the power means of said vehicle
      1620865             BOBCAT        (Int’l Class: 8) Hand tools - namely, shovels,                  1990-11-06
 5                                      scrapers, rakes and post hole diggers.
 6    1577764             BOBCAT        (Int’l Class: 17) Cylinder seals and o-rings for use            1990-01-16
                                        in industrial machines
 7
      1677100             BOBCAT        (Int’l Class: 41) Instruction services in the field of          1992-02-25
 8                                      operation and repair of mobile machinery.
 9    1661108             BOBCAT        (Int’l Class: 37) Repair services for mobile,       1991-10-15
                                        industrial, construction and excavating
10                                      machinery; rental services for machinery; namely,
                                        rental of skid steer loaders, articulated front end
11                                      loaders, back hoes, trenchers and excavators.
      1651245             BOBCAT        (Int’l Class: 1) Hydraulic, hydrostatic and         1991-07-23
12                                      transmission fluid for off-road machinery.
13    1153505             BOBCAT        (Int’l Class: 42) Rental of skid steer loaders.                 1981-05-05
14
      1604367             BOBCAT        (Int’l Class: 7) Attachments for skid steer loaders 1990-07-03
15                                      - namely, backhoes, rotary brooms, landscape
                                        rakes, hydraulic breakers, grapples and
16                                      combination buckets; machinery - namely,
                                        trenchers, excavators, skid steer loaders,
17                                      articulated front end loaders, backhoes, and parts
                                        therefor; ignition tune-up kits, including rotors,
18                                      condensers, points and spark plugs; excavator
                                        customer maintenance kits, namely, belts, light
19                                      bulbs, fuses, digging teeth, bolts, motor oil and
                                        hydraulic fluid; filters for machinery - namely,
20                                      hydraulic fluid filters, engine oil filters and air
                                        filters; remanufactured engines; remanufactured
21                                      starters; remanufactured alternators;
                                        remanufactured hydraulic pumps; and
22                                      remanufactured hydraulic motors.
      2027135             BOBCAT        (Int’l Class: 16) Parts manuals; owners manuals;    1996-12-31
23
                                        service manuals; and parts catalogs in the field of
                                        industrial machines and products.
24
      4764615             BOBCAT        (Int’l Class: 35) Providing information about earth 2015-06-30
25                        ADVANTAG      moving, construction and agricultural equipment,
                          E             namely, providing consumer product information
26                                      about equipment specifications, performance,
                                        and equipment comparisons
27

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 1    U.S. Reg. No.       Trademark     Goods/Services                                                  Reg. Date
      1604285             BOBCAT        (Int’l Class: 4) Lubricants - namely, motor oil.                1990-07-03
 2                        LOGO

 3
      1609572             BOBCAT        (Int’l Class: 7) Attachments for skid steer loaders -           1990-08-14
 4                        LOGO          namely, rotary brooms, landscape rakes,
                                        hydraulic breakers, backhoes, grapples and
 5                                      combination buckets; machinery - namely, skid
                                        steer loaders, articulated front end loaders,
 6                                      backhoes, excavators and parts therefor; ignition
                                        tune-up kits, comprising rotors, condensers,
 7                                      points and spark plugs; excavator customer
                                        maintenance kits comprising light bulbs, fuses,
 8                                      digging teeth, bolts, motor oil and hydraulic fluid;
                                        filters for machinery - namely, hydraulic fluid
 9                                      filters, engine oil filters and air filters;
                                        remanufactured engines; remanufactured
10                                      starters; remanufactured alternators;
                                        remanufactured hydraulic pumps; and
11                                      remanufactured hydraulic motors
      1577757             BOBCAT        (Int’l Class: 16) Parts manuals; owners manuals;                1990-01-16
12                        LOGO          service manuals; and parts catalogs in the field of
                                        industrial machines and products
13
      1633201             BOBCAT        (Int’l Class: 17) Kits consisting primarily of                  1991-01-29
14                        LOGO          cylinder seals for machinery kits; consisting
                                        primarily of o-rings for machinery.
15
      1661107             BOBCAT        (Int’l Class: 37) Repair services for mobile,     1991-10-15
16                        LOGO          industrial, construction and excavating
                                        machinery; rental services for machinery; namely,
17                                      rental of skid steer loaders, back hoes, and
                                        excavators
18    1621833             BOBCAT        (Int’l Class: 1) Hydraulic, hydrostatic, and      1990-11-13
                          LOGO          transmission fluid, for use with machinery
19
      1110470             BOBCAT        (Int’l Class: 12) Self-propelled tractor vehicles               1979-01-02
20                        LOGO
21
      1153506             BOBCAT        (Int’l Class: 42) Rental of skid steer loaders.                 1981-05-05
22                        LOGO
23
      4267606                           (Int’l Class: 7) Earth moving, construction, and                2013-01-01
24                        BOBCAT        agricultural machines, namely, bulldozers,
                          ORANGE        excavators, front-end loaders, backhoe loaders,
25                        LOGO          skid-steer loaders, telehandlers, telescopic
                                        material handling machines, [. . . .] filters and
26                                      purifiers for machines, namely, purifiers for
                                        removing contaminants from the exhaust gasses
27                                      emitted from machines

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 1    U.S. Reg. No.       Trademark     Goods/Services                                                Reg. Date

 2                                      (Int’l Class: 12) Tractors; utility terrain vehicles;
                                        utility tool carriers, namely, tractors for carrying
 3                                      tools and utility terrain vehicles for carrying tools;
                                        tires; tire chains; trailer hitch covers; trailer hitch
 4                                      and wiring adapters; fitted covers for vehicles;
                                        fitted utility vehicle bed liners
 5                                      (Int’l Class: 35) Retail store services featuring
                                        construction and agricultural equipment and
 6                                      attachments for construction and agricultural
                                        equipment
 7
                                        (Int’l Class: 37) Repair services for construction
 8                                      and agricultural equipment
      4170220                           (Int’l Class: 7) Excavators, namely, hydraulic                2012-07-10
 9                                      excavators
10    4027919                           (Int’l Class: 7) Bulldozers, front-end wheel                  2011-09-20
                                        loaders, backhoe loaders, skid steer loaders,
11                                      articulated front-end loaders, compact track
                                        loaders, loading-unloading machines, all-wheel
12                                      steer machines, namely skid-steer loaders with
                                        axles that are steerable, telehandlers
13    2190158                           (Int’l Class: 7) Power machinery; namely, skid-               1998-09-22
                                        steer loaders, and excavators
14
      4030916                           (Int’l Class: 7) Front-end wheel loaders, backhoe             2011-09-27
15                                      loaders, skid steer loaders, articulated front-end
                                        loaders, loading-unloading machines, all-wheel
16                                      steer machines, namely, skid-steer loaders with
                                        axles that are steerable, telehandlers
17    4110890                           (Int’l Class: 7) Front-end wheel loaders, backhoe             2012-03-13
                                        loaders, skid steer loaders, articulated front-end
18                                      loaders loading-unloading machines, all-wheel
                                        steer machines, namely, skid-steer loaders with
19                                      axles that are steerable; excavators, namely,
                                        hydraulic excavators, telehandlers
20
                                        (Int’l Class: 12) Utility vehicles, namely, utility
21                                      terrain vehicles and utility tool carriers, namely,
                                        tractors for carrying tools and utility terrain
22                                      vehicles for carrying tools; tractors
23 A full list of Bobcat Company’s BOBCAT registrations is available at Exhibit B (collectively

24 the “BOBCAT Registrations”).

25            20.       Bobcat Company’s BOBCAT Registrations include registrations that specifically
26 cover rental services. See, e.g., U.S. Registration Nos. 1153506, 1661107, 1661108, and

27 1153505.

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 1            21.       Bobcat Company’s BOBCAT Marks are well known, and even famous, in the

 2 United States and worldwide. Bobcat Company has received many awards and much recognition

 3 for its BOBCAT-branded equipment. For example, in 2004 the American Society of Agricultural

 4 Engineers honored Bobcat Company with the “Historic Landmark” award for inventing the

 5 BOBCAT-branded skid steer loader, in 2009 Farm Innovation News and Roads and Bridges

 6 Magazine gave awards to the BOBCAT-branded compact tractor and the BOBCAT-branded skid

 7 steer loader, and in 2020 Construction Equipment named several Bobcat Company equipment in

 8 its Top 100 Product Awards. A list of Bobcat Company’s awards and recognitions are publicly
 9 available at https://www.bobcat.com/company-info/brand-excellence/awards. Bobcat

10 Company’s records are even on display at the Smithsonian as an example of an American story

11 of manufacturing, marketing, and entrepreneurship.

12                            Defendants’ Unauthorized Use of the BOBCAT Marks

13            22.       Upon information and belief, Bobcat Rentals is a self-described rental agency

14 catering to the construction trade and is open 24 hours a day, 7 days a week.

15            23.       Bobcat Rentals is using Bobcat Company’s BOBCAT Marks without Bobcat

16 Company’s permission in connection with Bobcat Rentals’ compact construction equipment

17 rental business.

18            24.       Upon information and belief, Christopher Walls is the President of Bobcat Rentals

19 and owns and controls Bobcat Rentals.

20            25.       Bobcat Company, through its attorneys, first contacted Mr. Walls in 2018 to

21 demand that Mr. Walls cease use of the name “Bobcat Rentals Co.” and the URL

22 www.bobcatrentalsco.com, and to cease using Bobcat Company’s Bobcat Logo Mark                                  in

23 connection with Mr. Walls’ business, including in connection with the business’s logo and

24 branding.

25            26.       Following Mr. Walls’ failure to comply with Bobcat Company’s 2018 demand,

26 on August 31, 2018 Bobcat Company instituted a Uniform Domain-Name Dispute Resolution

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 1 (“UDRP”) action. Bobcat Company’s UDRP action resulted in the <www.bobcatrentalsco.com>

 2 domain name being transferred to Bobcat Company in late 2018.

 3            27.       Bobcat Company has also filed formal complaints with Facebook and Google

 4 which successfully removed Mr. Walls’ and Bobcat Rentals’ posts and listings that used Bobcat

 5 Company’s intellectual property without permission.

 6            28.       In or around June 2021, Bobcat Company learned Mr. Walls was again using

 7 Bobcat Company’s BOBCAT Marks without permission.

 8            29.       For example, Mr. Walls and Bobcat Rentals are using the BOBCAT Marks to

 9 promote and operate Mr. Walls’ equipment rental business. The following are non-limiting

10 examples of Defendants’ unauthorized use of the BOBCAT Marks:

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17            30.       Indeed, Defendants have adopted a domain name, <www.bobcatrentalco.com>,

18 that is nearly identical to the domain name Bobcat Company successfully filed its 2018 UDRP
19 complaint against <www.bobcatrentalsco.com>.

20            31.       Bobcat Rentals has received strong customer dissatisfaction with its services

21 offered in connection with the unauthorized use of Bobcat Company’s BOBCAT Marks. For

22 example, Bobcat Rental’s has a 3.1/5 star rating on Google Reviews, with many apparent

23 customers dissatisfied with Bobcat Rental’s service:

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15            32.       The following are non-limiting examples of purported Bobcat Rentals customers’
16 reviews of Bobcat Rentals on Google:

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              33.       Bobcat Rentals also has a 1/5 star customer rating on the Better Busines Bureau’s
18
     website, https://www.bbb.org/us/wa/tacoma/profile/excavating-equipment/bobcat-rentals-co-
19
     1296-22561698/customer-reviews (last accessed on November 18, 2021).
20
              34.       On July 8, 2021, counsel for Bobcat Company sent Mr. Walls a letter demanding
21
     Mr. Walls and Bobcat Rentals: (i) cease and desist all use of the BOBCAT Marks;
22
     (ii) permanently cease use of the Bobcat Rentals Co. name; (iii) remove all signage from
23
     Defendants’ business, advertising, and other materials that incorporate the BOBCAT Marks; and
24
     (iv) transfer the domain name <www.bobcatrentalco.com> to Bobcat Company. A true and
25
     correct copy of the July 8, 2021 letter to Mr. Walls is attached as Exhibit C. Mr. Walls never
26
     responded to Bobcat Company’s July 8, 2021 letter.
27

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 1            35.       Counsel for Bobcat Company also requested Mr. Walls file any necessary

 2 paperwork with the Washington Secretary of State to effect the name change, if applicable since

 3 “Bobcat Rentals Co.” was formerly registered with the Washington Secretary of State but

 4 dissolved in 2014.

 5            36.       Rather than respond to Bobcat Company’s July 8, 2021 letter, on August 30, 2021

 6 Mr. Walls filed to incorporate Bobcat Rentals Co. with the Washington Secretary of State.

 7                                       Defendants’ Willful Behavior

 8            37.       Mr. Walls and his company, Bobcat Rentals, have been aware of Bobcat

 9 Company’s BOBCAT Marks and BOBCAT Registrations since at least 2018.

10            38.       Mr. Walls and his company, Bobcat Rentals, continue to use the BOBCAT Marks

11 without Bobcat Company’s permission and continue to disregard Bobcat Company’s demands.

12            39.       Mr. Walls, and his company Bobcat Rentals, have failed to respond to or

13 otherwise comply with Bobcat Company’s letters to date.

14            40.       Despite Bobcat Company’s UDRP complaint against Mr. Walls’

15 <www.bobcatrentalsco.com> domain name, Mr. Walls subsequently created a new domain

16 name, <www.bobcatrentalco.com>, that is virtually identical to the domain name Bobcat

17 Company complained about in its UDRP complaint.

18            41.       Accordingly, Defendants are aware of Bobcat Company’s BOBCAT Marks and

19 have been aware of the BOBCAT Marks since at least 2018.

20            42.       Notwithstanding Defendants’ knowledge of the BOBCAT Marks, Defendants

21 continue to infringe by utilizing the BOBCAT Marks against Bobcat Company’s express

22 objection in connection with the advertising, marketing, and operation of Bobcat Rentals Co.

23                                                  COUNT I

24        Federal Trademark Infringement - Lanham Act Section 32(1) (15 U.S.C. § 1114(1))

25            43.       Bobcat Company restates and incorporates by reference all previous allegations in

26 paragraphs 1-41.

27            44.       Defendants’ actions constitute trademark infringement under 15 U.S.C. § 1114.

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 1            45.       Bobcat Company holds all right, title, and interest in the BOBCAT Marks,

 2 including those covered by the BOBCAT Registrations (see Exhibit B).

 3            46.       Bobcat Company has used and continues to use the BOBCAT Marks to market

 4 and sell compact equipment for construction, landscaping, and agriculture, and related goods and

 5 services.

 6            47.       Moreover, Bobcat Company’s equipment is sold, rented, and serviced throughout

 7 the United States through an extensive dealer network, including through Peak Machinery,

 8 Bobcat Company’s authorized dealer and service provider in Washington, and each dealer is
 9 granted authorization to use the BOBCAT Marks in connection with its business name, and a

10 domain name, pursuant to its dealer agreement.

11            48.       The BOBCAT Marks are inherently distinctive and have acquired secondary

12 meaning, both individually and as a family.

13            49.       Defendants are not an authorized dealer, servicer, or rental provider and are not

14 authorized to use Bobcat Company’s BOBCAT Marks.

15            50.       Defendants use the BOBCAT Marks in connection with equipment rental

16 services.

17            51.       Defendants are using the BOBCAT Marks in order to convey, imply, or indicate

18 that Defendants’ services are endorsed, sponsored, or otherwise approved by Bobcat Company.
19            52.       The construction equipment rental services that Defendants offer are closely

20 related to, and in some instances, identical to the goods and services offered in connection with

21 the BOBCAT Marks, including those covered by Bobcat Company’s BOBCAT Registrations.

22            53.       The channels of trade used by Defendants and Bobcat Company, including

23 through Bobcat Company’s dealers and authorized service providers, are overlapping.

24            54.       Accordingly, Defendants’ unauthorized use of the BOBCAT Marks to market and

25 sell Defendants’ services has caused and/or is likely to cause customers to mistakenly believe

26 that Defendants’ services are sponsored by and/or affiliated with Bobcat Company, constituting

27 Lanham Act trademark infringement.

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 1            55.       Defendants’ infringement is intentional, willful, and/or in reckless disregard of

 2 Bobcat Company’s rights in its BOBCAT Marks.

 3            56.       By infringing Bobcat Company’s BOBCAT Marks, Defendants have caused

 4 Bobcat Company to suffer and, unless enjoined by this Court, will cause Bobcat Company to

 5 continue to suffer, substantial injury, including lost profits, for which Bobcat Company is

 6 entitled to damages.

 7            57.       If Defendants’ infringement is not enjoined, Bobcat Company will suffer

 8 irreparable harm that cannot adequately be compensated by a monetary award.
 9                                                  COUNT II

10            False Designation Of Origin - Lanham Act Section 43(a) (15 U.S.C. § 1125(a))

11            58.       Bobcat Company restates and incorporates by reference all previous allegations in

12 paragraphs 1-57.

13            59.       Defendants’ actions constitute false designation of origin under 15 U.S.C. § 1125.

14            60.       Bobcat Company holds all right, title, and interest in the BOBCAT Marks,

15 including those covered by the BOBCAT Registrations (see Exhibit B).

16            61.       Bobcat Company has used and continues to use the BOBCAT Marks to market

17 and sell compact equipment for construction, landscaping, and agriculture, and related goods and

18 services.
19            62.       Moreover, Bobcat Company’s equipment is sold, rented, and serviced throughout

20 the United States through an extensive dealer network, and each dealer is granted authorization

21 to use the BOBCAT Marks in connection with its business name, and a domain name, pursuant

22 to its dealer agreement.

23            63.       The BOBCAT Marks are inherently distinctive and have acquired secondary

24 meaning, both individually and as a family.

25            64.       Defendants are not an authorized dealer, servicer, or rental provider and are not

26 authorized to use Bobcat Company’s BOBCAT Marks.

27

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 1            65.       Defendants use the BOBCAT Marks in their entirety in connection with Bobcat

 2 Rentals’ equipment rental services.

 3            66.       Defendants are using the BOBCAT Marks in order to convey, imply, or indicate

 4 that Defendants services are endorsed, sponsored, or otherwise approved by Bobcat Company.

 5            67.       The construction equipment rental services that Defendants offer are closely

 6 related to, and in some instances, identical to the goods and services offered in connection with

 7 the BOBCAT Marks, including as identified in the BOBCAT Registrations.

 8            68.       The channels of trade used by Defendants and Bobcat Company, including

 9 through Bobcat Company’s authorized dealers and service providers, are overlapping.

10            69.       Defendants’ use of BOBCAT-formative marks to market and sell their services

11 has caused and/or is likely to cause customers to mistakenly believe that Defendants’ services

12 originate from Bobcat Company, constituting Lanham Act false designation of origin.

13            70.       Defendants’ false designation is intentional, willful, and/or in reckless disregard

14 of Bobcat Company’s rights in its BOBCAT Marks.

15            71.       By falsely designating its services, Defendants caused Bobcat Company to suffer

16 and, unless enjoined by this Court, will cause Bobcat Company to continue to suffer substantial

17 injury, including lost profits, for which Bobcat Company is entitled to damages adequate to

18 compensate it.
19            72.       If Defendants’ false designation is not enjoined, Bobcat Company will suffer

20 irreparable harm that cannot adequately be compensated by a monetary award.

21                                                  COUNT III

22            Federal Unfair Competition - Lanham Act Section 43(a) (15 U.S.C. § 1125(a))

23            73.       Bobcat Company restates and incorporates by reference all previous allegations in

24 paragraphs 1-72.

25            74.       Defendants’ actions constitute unfair competition under 15 U.S.C. § 1125.

26            75.       Bobcat Company holds all right, title, and interest in the BOBCAT Marks,

27 including those covered by the BOBCAT Registrations (see Exhibit B).

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 1            76.       Bobcat Company has used and continues to use the BOBCAT Marks to market

 2 and sell compact equipment for construction, landscaping, and agriculture, and related goods and

 3 services.

 4            77.       Moreover, Bobcat Company’s equipment is sold, rented, and serviced throughout

 5 the United States through an extensive dealer network, and each dealer is granted authorization

 6 to use the BOBCAT Marks in connection with its business name, and a domain name, pursuant

 7 to its dealer agreement.

 8            78.       The BOBCAT Marks are inherently distinctive and have acquired secondary

 9 meaning, both individually and as a family.

10            79.       Defendants are not an authorized dealer, servicer, or rental provider and are not

11 authorized to use Bobcat Company’s BOBCAT Marks.

12            80.       Defendants use the BOBCAT Marks in connection with Bobcat Rentals’

13 equipment rental services.

14            81.       Defendants are using the BOBCAT Marks in order to convey, imply, or indicate

15 that Defendants services are endorsed, sponsored, or otherwise approved by Bobcat Company.

16            82.       The construction equipment rental services that Defendants offer are closely

17 related to, and in some instances, identical to the goods and services contained in Bobcat

18 Company’s BOBCAT Registrations.
19            83.       The channels of trade used by Defendants and Bobcat Company, including

20 through Bobcat Company’s authorized dealers and service providers, are overlapping.

21            84.       Defendants’ unfair competition with Bobcat Company was, and is, done willfully,

22 maliciously, and/or in an intentional disregard of Bobcat Company’s rights.

23            85.       As a direct and proximate result of Defendants’ wrongful actions, Bobcat

24 Company has suffered, and continues to suffer, damage and loss.

25

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 1                                                 COUNT IV

 2                    Federal Dilution – Lanham Act Section 43(a) (15 U.S.C. § 1125(c))

 3            86.       Bobcat Company restates and incorporates by reference all previous allegations in

 4 paragraphs 1-85.

 5            87.       Defendants’ actions constitute dilution by blurring and/or tarnishment under 15

 6 U.S.C. § 1125(c).

 7            88.       Bobcat Company holds all right, title, and interest in the BOBCAT Registrations

 8 (see Exhibit B), for the BOBCAT Marks.
 9            89.       Bobcat Company has used and continues to use the BOBCAT Marks to market

10 and sell compact equipment for construction, landscaping, and agriculture, and related goods and

11 services.

12            90.       Moreover, Bobcat Company’s equipment is sold, rented, and serviced throughout

13 the United States through an extensive dealer network, and each dealer is granted authorization

14 to use the BOBCAT Marks in connection with its business name, and a domain name, pursuant

15 to its dealer agreement.

16            91.       The BOBCAT Marks are inherently distinctive and have acquired secondary

17 meaning, both individually and as a family.

18            92.       As a result of Bobcat Company’s extensive distribution, sale, promotion,

19 advertising, and public recognition of goods and services under its BOBCAT Marks, and the

20 high quality of goods and services sold under Bobcat Company’s BOBCAT Marks, Bobcat

21 Company’s BOBCAT Marks have become well-known and famous and are widely recognized in

22 the United States and beyond as designating high quality goods and services originating

23 exclusively with Bobcat Company.

24            93.       As a result of their distinctiveness and widespread use and promotion throughout

25 the United States, Bobcat Company’s BOBCAT Marks are distinctive and are individually

26 “famous marks” within the meaning of Section 43(c) of the Lanham Act, 15 U.S.C. § 1125(c).

27

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 1            94.       Defendants are not an authorized dealer, servicer, or rental provider and are not

 2 authorized to use Bobcat Company’s BOBCAT Marks.

 3            95.       Defendants use the BOBCAT Marks in their entirety in connection with Bobcat

 4 Rentals’ equipment rental services.

 5            96.       Defendants are using the BOBCAT Marks in order to convey, imply, or indicate

 6 that Defendants services are endorsed, sponsored, or otherwise approved by Bobcat Company.

 7            97.       Defendants have conducted business in a fashion that has led to numerous

 8 negative customer reviews.
 9            98.       Defendants’ use of the BOBCAT Marks in connection with services that have

10 received negative customer reviews and/or sentiment has and will continue to negatively impact

11 the substantial good will and recognition associated with Bobcat Company’s BOBCAT Marks.

12            99.       Defendants’ unauthorized use of the BOBCAT Marks dilutes Bobcat Company’s

13 famous BOBCAT Marks and the BOBCAT Registrations.

14            100.      Defendants’ persistent unauthorized use of the BOBCAT Marks dilutes the

15 distinctive quality of Bobcat Company’s famous BOBCAT Marks within the meaning of Section

16 43(c) and lessens the ability of the BOBCAT Marks to distinguish the products and services of

17 Bobcat Company. Defendants’ unauthorized use therefore blurs the distinctiveness of Bobcat

18 Company’s famous BOBCAT Marks and the BOBCAT Registrations.
19            101.      Defendants’ continued unauthorized use of the BOBCAT Marks in connection

20 with Defendants’ services is likely to impair the distinctiveness, and cause dilution by blurring,

21 of Bobcat Company’s famous BOBCAT Marks in violation of 15 U.S.C. § 1125(c).

22            102.      Additionally, and/or alternatively, a negative association arises from the

23 Defendants’ unauthorized use of the BOBCAT Marks that tarnishes and harms the reputation of

24 Bobcat Company’s famous BOBCAT Marks and BOBCAT Registrations. As a non-limiting

25 example, Bobcat Company’s famous BOBCAT Marks are associated with high quality compact

26 equipment originating exclusively from Bobcat Company, including rentals of same. Defendants

27 have used the BOBCAT Marks in a manner that has led to significant negative reviews and

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 1 customer experiences such that Defendants’ unauthorized use of the BOBCAT Marks has and

 2 will continue to tarnish and harm the reputation of Bobcat Company, Bobcat Company’s

 3 BOBCAT Marks, and the BOBCAT Registrations.

 4            103.      Accordingly, continued unauthorized use of the BOBCAT Marks in connection

 5 with Defendants’ services is likely to tarnish the reputation, and thus cause dilution by

 6 tarnishment, of Bobcat Company’s famous BOBCAT Marks in violation of 15 U.S.C. § 1125(c).

 7            104.      If Defendants’ actions are not enjoined, Bobcat Company will suffer irreparable

 8 harm that cannot adequately be compensated by a monetary award.
 9                                                  COUNT V

10                                      Common Law Trademark Infringement

11            105.      Bobcat Company restates and incorporates by reference all previous allegations in

12 paragraphs 1-104.

13            106.      Defendant’s unauthorized use of the BOBCAT Marks infringes Bobcat

14 Company’s rights in the BOBCAT Marks in violation of Washington common law.

15            107.      Bobcat Company has used and continues to use the BOBCAT Marks to market

16 and sell compact equipment for construction, landscaping, and agriculture, and related goods and

17 services.

18            108.      Moreover, Bobcat Company’s equipment is sold, rented, and serviced throughout

19 the United States through an extensive dealer network, and each dealer is granted authorization

20 to use the BOBCAT Marks in connection with its business name, and a domain name, pursuant

21 to its dealer agreement.

22            109.      The BOBCAT Marks are inherently distinctive and have acquired secondary

23 meaning, both individually and as a family.

24            110.      Defendants are not an authorized dealer, servicer, or rental provider and are not

25 authorized to use Bobcat Company’s BOBCAT Marks.

26            111.      Defendants use the BOBCAT Marks in connection with Bobcat Rentals’

27 equipment rental services.

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 1            112.      Defendants are using the BOBCAT Marks in order to convey, imply, or indicate

 2 that Defendants’ services are endorsed, sponsored, or otherwise approved by Bobcat Company.

 3            113.      The construction equipment rental services that Defendants offer are closely

 4 related to, and in some instances, identical to the goods and services provided in connection with

 5 the BOBCAT Marks, including those contained in Bobcat Company’s BOBCAT Registrations.

 6            114.      The channels of trade used by Defendants and Bobcat Company, including

 7 through Bobcat Company’s authorized dealers and service providers, are overlapping.

 8            115.      Defendants’ unauthorized use of the BOBCAT Marks to market and sell

 9 Defendants’ services has caused and/or is likely to cause customers to mistakenly believe that

10 Defendants’ services are sponsored by and/or affiliated with Bobcat Company.

11            116.      Defendants’ actions constitute trademark infringement under state common law.

12            117.      Defendants’ infringement is intentional, willful, and/or in reckless disregard of

13 Bobcat Company’s trademark rights in its BOBCAT Marks.

14            118.      By infringing Bobcat Company’s BOBCAT Marks, Defendants have caused

15 Bobcat Company to suffer and, unless enjoined by this Court, will cause Bobcat Company to

16 continue to suffer, substantial injury, including lost profits, for which Bobcat Company is

17 entitled to damages.

18            119.      If Defendants’ infringement is not enjoined, Bobcat Company will suffer

19 irreparable harm that cannot adequately be compensated by a monetary award.

20                                           PRAYER FOR RELIEF

21            WHEREFORE Bobcat Company seeks the following relief from this Court:

22            A.        A judgment against Defendants that Defendants have infringed, and continue to

23 infringe, Bobcat Company’s BOBCAT Marks in violation of 15 U.S.C. § 1114;

24            B.        A judgment against Defendants that Defendants have infringed, and continue to

25 infringe, Bobcat Company’s BOBCAT Marks in violation of Washington state common law;

26            C.        An award of damages adequate to compensate Bobcat Company for Defendants’

27 infringement, but no less than the damages and/or disgorgement of profits permitted by 15

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 1 U.S.C. § 1117 and any other applicable authority;

 2            D.        A judgment that Defendants’ trademark infringement has been, and continues to

 3 be, intentional, willful, and/or reckless;

 4            E.        A judgment against Defendants that Defendants have committed, and continue to

 5 commit, false designation of origin in violation of 15 U.S.C. § 1125;

 6            F.        A judgment that Defendants’ false designation of origin has been, and continues

 7 to be, intentional, willful, and/or reckless;

 8            G.        An award of damages adequate to compensate Bobcat Company for Defendants’

 9 false designation of origin, but no less than the damages and/or disgorgement of profits permitted

10 by 15 U.S.C. § 1117 and any other applicable authority;

11            H.        A judgment against Defendants that Defendants have unfairly competed, and

12 continues to unfairly compete, against Bobcat Company in violation of 15 U.S.C. § 1125;

13            I.        A judgment that Defendants’ unfair competition has been, and continues to be,

14 intentional, willful, and/or reckless;

15            J.        An award of damages adequate to compensate Bobcat Company for Defendants’

16 unfair competition, but no less than the damages and/or disgorgement of profits permitted by 15

17 U.S.C. § 1117 and any other applicable authority;

18            K.        A judgment against Defendants that Defendants have diluted, and continue to

19 dilute, Bobcat Company’s famous BOBCAT Marks in violation of 15 U.S.C. § 1125;

20            L.        A judgment that Defendants’ dilution has been, and continues to be, intentional,

21 willful, and/or reckless;

22            M.        An award of damages adequate to compensate Bobcat Company for Defendants’

23 dilution, but no less than the damages and/or disgorgement of profits permitted by 15 U.S.C. §

24 1117 and any other applicable authority;

25            N.        An award of compensatory and punitive damages, under the authority described

26 above and any other applicable authority;

27            O.        Injunctive relief, both preliminary and permanent, pursuant to 15 U.S.C. § 1116

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 1 and/or any other applicable authority, prohibiting Defendants from continuing to violate Bobcat

 2 Company’s rights in any way;

 3            P.        A judgment that Defendants’ acts of trademark infringement, false designation or

 4 origin, unfair competition, and dilution warrant a finding that this is an exceptional case;

 5            Q.        An award of reasonable attorneys’ fees incurred herein pursuant to 15 U.S.C.

 6 § 1117 and/or any other applicable authority;

 7            R.        An award of Bobcat Company’s costs and expenses;

 8            S.        An award of pre- and post-judgment interest; and

 9            T.        Such other and further relief as the Court may deem just and proper.

10                                              JURY DEMAND

11            Bobcat Company demands a trial by jury on all issues properly tried thereto.

12

13            DATED this 3rd day of December, 2021.

14                                                By: /s/ Lauren B. Rainwater
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